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                                                                                              5   Proposed Counsel for Shelley D. Krohn, Chapter 7 Trustee

                                                                                              6
                                                                                              7
                                                                                              8                                 UNITED STATES BANKRUPTCY COURT
                         9205 West Russell Road, Building 3, Suite 240 Las Vegas, NV 89148




                                                                                              9                                          DISTRICT OF NEVADA
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                                                                                             10       In re:                                         Case No. BK-S-19-14235-ABL
                                                                                                                                                     Chapter 7
HOUMAND LAW FIRM, LTD.




                                                                                             11       BECKETT G. CANTLEY,
                                                                                                                                                     STIPULATION TO: (1) EXTEND
                                                                                             12                       Debtor.                        DEADLINE TO OBJECT TO DEBTOR’S
                                                                                                                                                     DISCHARGE PURSUANT TO FEDERAL
                                                                                             13                                                      RULE OF BANKRUPTCY PROCEDURE
                                                                                                                                                     4004; AND (2) EXTEND DEADLINE TO
                                                                                             14                                                      OBJECT TO DEBTOR’S CLAIM OF
                                                                                                                                                     EXEMPTIONS PURSUANT TO
                                                                                             15                                                      FEDERAL RULE OF BANKRUPTCY
                                                                                                                                                     PROCEDURE 4003
                                                                                             16
                                                                                                                                                     Date of Hearing:       N/A
                                                                                             17                                                      Time of Hearing:       N/A
                                                                                             18                                                      Judge: Honorable August B. Landis1
                                                                                             19
                                                                                             20                Shelley D. Krohn (the “Trustee”), the duly appointed Chapter 7 Trustee in the above-

                                                                                             21   captioned bankruptcy case, by and through her proposed counsel of record, Jacob L. Houmand,

                                                                                             22   Esq. of the Houmand Law Firm, Ltd., and Beckett G. Cantley (the "Debtor" and together with the

                                                                                             23   Trustee, the “Parties”), by and through his counsel of record, H. Stan Johnson, Esq. of Cohen

                                                                                             24   Johnson Parker Edwards, hereby stipulate and agree as follows:

                                                                                             25   ...

                                                                                             26   ...

                                                                                             27
                                                                                                  1
                                                                                                    All references to “ECF No.” are to the numbers assigned to the documents filed in the case as
                                                                                             28
                                                                                                  they appear on the docket maintained by the clerk of the court.
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                                                                                              1                                          I.     RECITALS

                                                                                              2          1.      On July 1, 2019, the Debtor filed a voluntary bankruptcy pursuant to Chapter 7 of

                                                                                              3   Title 11 of the United States Code [ECF No. 1].

                                                                                              4          2.      On July 1, 2019, the Trustee was appointed as the Chapter 7 Trustee in the

                                                                                              5   Debtor’s bankruptcy case [ECF No. 6].

                                                                                              6          3.      On September 11, 2019, the Trustee concluded the Debtor’s 341(a) Meeting of

                                                                                              7   Creditors.

                                                                                              8          4.      The current deadline to object to the Debtor’s discharge is October 7, 2019.
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                                                                                              9          5.      The current deadline for the Trustee to file an objection to the exemptions claimed
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                                                                                             10   by the Debtor is October 11, 2019.
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                                                                                             11          6.      The Parties now seek to extend the deadline for the Trustee to object to the

                                                                                             12   Debtor’s discharge pursuant to 11 U.S.C. § 727 and Federal Rule of Bankruptcy Procedure 4004

                                                                                             13   and the deadline for the Trustee to object to the exemptions claimed by the Debtor.

                                                                                             14                                        II.    STIPULATION

                                                                                             15          IT IS HEREBY STIPULATED AND AGREED that:

                                                                                             16          1.      The Trustee shall have an extension of time to file any and all objections to

                                                                                             17   Debtor’s discharge under any and all provisions of 11 U.S.C. § 727; and

                                                                                             18          2.      The Trustee shall have through and including November 15, 2019, to file a

                                                                                             19   complaint objecting to the Debtor’s discharge pursuant to any and all provisions of 11 U.S.C. §

                                                                                             20   727; and

                                                                                             21          3.      The Trustee shall have an extension of time to file any and all objections to the

                                                                                             22   exemptions claimed by the Debtor pursuant to Federal Rule of Bankruptcy Procedure 4003(b);

                                                                                             23   and

                                                                                             24          4.      The Trustee shall have up to and including November 15, 2019, to file any

                                                                                             25   objections to the exemptions claimed by the Debtor pursuant to Federal Rule of Bankruptcy

                                                                                             26   Procedure 4003; and

                                                                                             27   ...

                                                                                             28   ...

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                                                                                              1          5.     This Stipulation is without prejudice to any of the Parties requesting a further

                                                                                              2   extension of time from the Court for cause shown.

                                                                                              3   Dated this 7th day of October, 2019.              Dated this 7th day of October, 2019.

                                                                                              4   By: /s/ Jacob L. Houmand                          By: /s/ H. Stan Johnon
                                                                                                  Jacob L. Houmand, Esq. (NV Bar No. 12781)         H. Stan Johnson, Esq. (NV Bar No. 0265)
                                                                                              5   Houmand Law Firm, Ltd.                            Cohen Johnson Parker Edwards
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                                                                                                                                                    Las Vegas, NV 89119
                                                                                              7   Proposed Counsel for Shelley D. Krohn,
                                                                                                  Chapter 7 Trustee                                 Counsel for the Debtor
                                                                                              8
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